Case 2:24-cv-00228-Z           Document 114             Filed 07/03/25       Page 1 of 1        PageID 52179


                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                      AMARILLO DIVISION

 CARMEN PURL, et al.,

               Plaintiffs,

 Vv.                                                                   2:24-CV-228-Z

 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES, et al.,

               Defendants.

                                         AMENDED         JUDGMENT

         The   Court    GRANTED          Plaintiffs’   Motion    for   Summary     Judgment     and   DENIED

Defendants’ Motion to Dismiss for Lack of Jurisdiction. Accordingly, the HIPAA Privacy Rule to

Support Reproductive Health Care Privacy at 89 Fed. Reg. 832976 is VACATED                        per 5 U.S.C.

Section 706(2), except its modifications to 45 C.F.R. Section 164.520. But the provisions at 45

C.F.R.   Section   164.520()(1)Gi)(F),     (G),   and (H) are VACATED            per 5 U.S.C.   Section   706(2).

Judgment is rendered accordingly.

         SO ORDERED.

         July «3, 2025                                             ig             oo

                                                                MATTHEW J. KACSMARYK
                                                                UNITED STATES DISTRICT JUDGE
